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                                        No. 22-1823

                       UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT

                           ESTADOS UNIDOS MEXICANOS,

                                                         Plaintiff-Appellant,
                                             v.

            SMITH & WESSON BRANDS, INC.; BARRETT FIREARMS
       MANUFACTURING, INC.; BERETTA U.S.A. CORP.; BERETTA HOLDING
            S.P.A.; CENTURY INTERNATIONAL ARMS, INC.; COLT'S
       MANUFACTURING COMPANY LLC; GLOCK, INC.; GLOCK GES.M.B.H.;
        STURM, RUGER & CO., INC.; WITMER PUBLIC SAFETY GROUP, INC.
                         D/B/A INTERSTATE ARMS,

                                                       Defendants-Appellees.

                      On Appeal from the United States District Court
                       for the District of Massachusetts (Saylor, C.J.)
                                  No. 1:21-CV-11269-FDS

                           REPLY BRIEF OF APPELLANT
                           ESTADOS UNIDOS MEXICANOS


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                                          INTRODUCTION

            The Government sues under Mexico's tort law for harm Defendants

      systematically cause in Mexico, seeking redress and tailored injunctive relief in the

      only national forum that can effectively grant it.

            There is no "clash of national values ." Despite Defendants' refrain that the

      Complaint seeks liability for their "U.S. operations" (e.g., D.Br.1 1, 10, 12, 17, 35),

      they knowingly participate in trafficking guns into Mexico (e.g., Br. 5-7)     conduct

      that is trans-national. It violates Mexican and U.S. laws, including Mexican

      statutes on gun imports and U.S. strictures on gun exports. Br. 5, 40.

            Even if Defendants violated only Mexican law, Supreme Court

      extraterritoriality precedent requires construing PLCAA not to apply to this case.

      The two-step inquiry mandates that Congress, not the courts, make the foreign-

      policy decision whether to bar this claim for injury from gun misuse abroad.

            Defendants' conduct also violates U.S. gun statutes, so PLCAA's "predicate

      exception" permits this action in any event. The district court's assertion that the

      exception applies only if the violated gun statute provides a private right of action

      (Add. 27) contradicts PLCAA's plain text. Over 30 courts have addressed PLCAA,

      and none agree with the district court. The judicial consensus is that law-breaking


      1
       References to "D.Br." and "Br." are to Defendants' brief and the Government's
      opening brief, respectively.

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       gun companies do not get PLCAA' s special protection. Defendants are wrong in

       arguing that the Government is "trying to bring a lawsuit that no state, local or

       federal government agency could bring" (D.Br. 9, 24)      courts have allowed

       similar suits by U.S. cities under PLCAA. See, e.g., Smith & Wesson Corp. v. City

       of Gary, 875 N.E.2d 422 (Ind. App. 2007). Defendants' arguments on choice-of-

       law, proximate cause, and duty similarly lack merit.

                Defendants want to radically expand PLCAA by arbitrarily shrinking the

       predicate exception and by precluding liability for trafficking guns into a

       neighboring nation. PLCAA's text prohibits both those expansions.

                                             ARGUMENT
       I.    APPLYING PLCAA WOULD BE IMPERMISSIBLY
             EXTRATERRITORIAL.

             Defendants do not contest the district court's conclusion that, at the first step

       of the extraterritoriality analysis, they failed to overcome the presumption against

       extraterritoriality. Add. 23. Regarding "focus," the Government demonstrated that

       the focus of PLCAA' s Section 7903(5)(A) is injury and criminal or unlawful gun

       misuse, and the conduct relevant to that focus occurs in Mexico. Br. 20-25. Neither

       the district court nor the Defendants have denied either of those conclusions: the

       focus of Section 7903(5)(A) and the location of the conduct relevant to it are

       conceded on this appeal.



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              Instead, the district court and the Defendants assert that the overall focus of

       "the statute" is "regulat[ing] the types of claims that can be asserted against firearm

       manufacturers and sellers." Add. 24; D.Br. 12. The "regulat[ing]" occurs in the

       U.S., they contend, so PLCAA properly applies.

              That analysis fundamentally misapplies the focus inquiry.

              A.      The Focus Inquiry Applies to Each Provision.

              Where a statutory provision "works in tandem" with other provisions, the

       court must determine the focus of each provision. WesternGeco LLC v. ION

       Geophysical Corp., 138 S. Ct. 2129, 2137 (2018). Defendants misstate

       WesternGeco as having found a permissible domestic application because the

       focus of "the statute" was "protecting U.S. patents against infringement"
                                                                              . D.Br. 13 -

       14. That is not at all what the Court said. The provision granting damages for

       "infringement" (§ 284) worked in tandem with the provision that defined the

       relevant act of infringement (§ 271(f)(2)), so WesternGeco applied the focus of the

       provision that defined the relevant infringement (" its focus    is the domestic act

       of 'suppl[ying] in or from the United States"' ). 138 S. Ct. at 2137; see Br. 23-24 &

       n.7.

                The Court recently re-emphasized determining the focus of each "relevant

       provision[]." Abitron Austria GmbH v. Hetronic Int 'l, Inc. , 2023 WL 4239255, at

       *5, n.3 (U.S. June 29, 2023) ("Our cases sometimes refer to whether the 'statute'


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       applies extraterritorially, but the two-step analysis applies at the level of the

       particular provision implicated."). In Abitron, the Lanham Act (15 U.S.C. §

       1114( 1)) mandated that a person "shall be liable in a civil action" for unlawful uses

       of trademarked goods, and those uses were defined in two subsections

       (§1114(1)(a)&(b)). The Court applied the focus of those defining provisions. 2023

       WL 4239255, at *9-10.

             Here Sections 7902(a) and 7903(5)(A) work in tandem, the latter providing

       the definition for the former. The uncontested focus of 7903(5)(A) is injury from

       gun misuse, which occurs in Mexico.

             B.       The Inquiry Finds the Focus in the Provision's Specific Text.

                The district court and Defendants also err in positing an overall "animating

       concern[]" (D.Br. 12) of "regulat[ing] the types of claims" that can be filed. Every

       Supreme Court decision has found the focus not in some broad "policy" or

       "intent " but in the specific statutory text. Br. 23-24 & nn.7, 8. Abitron reinforced
                '
       this point:

             Congress proscribed the use of a [trade]mark in commerce under
             certain conditions .... Because Congress has premised liability on a
             specific action (a particular sort of use in commerce), that specific
             action would be the conduct relevant to any focus on offer today.

       Abitron, 2023 WL 4239255, at *2 (emphasis added).

             Untethering the focus from the statutory text would involve courts in

       "divining what Congress would have wanted if it had thought of the situation."

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       Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247, 261 (2010). The two-step

       inquiry prevents such "judicial-speculation-made-law" ensuring that only
                                                           '
       Congress makes those foreign-policy judgments. Id.; Br. 21.2 The district court's

       "expansive understanding of' the rele vant focus, unmoored from the text,

       " threatens to negate the presumption against extraterritoriality" and thereby thrust
       "the Judiciary ... into the unappetizing task of navigating foreign policy disputes

       belonging to the political branches " Abitron, 2023 WL 4239255, at *8 (cleaned

       up).

              C.     The Focus Inquiry Determines Where the Conduct Relevant to
                     the Focus Occurred.

              Defendants argue that PLCAA itself does not focus on whether the injury or

       source of law is domestic or foreign. D.Br. 12. But the relevant inquiry is where

      the conduct relevant to the provision's focus occurred. Br. 10; see also Abitron,

       2023 WL 4239255, at *7 ("' if the conduct relevant to the focus occurred in a

       foreign country, then the case involves an impermissible extraterritorial application

       regardless of any other conduct that occurred in U.S. territory. "') (quoting RJR

       Nabisco, Inc. v. Eur. Cmty, 579 U.S. 325, 337 (2016)). Any other rule "would give




       2
        Defendants cannot deny that, at the district court's level of (over) -generality, the
       claim-granting provisions in RJR Nabisco and Kiobel could equally be described as
       "regulating the type of claims that can be asserted," flipping the result in both
       cases. Br. 21; D.Br. 15.

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       [a provision] an untenably broad reach that undermines our extraterritoriality

       framework." Id.

             Abitron likewise rebuts the district court's contention (Add. 25 n.7) that

       applying a statute is permissibly domestic if it produces domestic effects. 2023 WL

       4239255, at *8. And Defendants do not support on appeal the district court's

       embrace of an out-of-Circuit, pre-two-step-inquiry decision. See Br. 28-29.

             D.      The Focus Inquiry Applies to All Federal Statutes.

             Defendants retreat into arguing that the two-step inquiry does not apply to

       statutes that limit, rather than create, claims or jurisdiction. D.Br. 15. But the

       inquiry applies to all federal statutes, including "strictly jurisdictional" statutes. Br.

       28 n.12.3

             Even if the issue were open, Defendants offer no viable rationale for

       distinguishing between claim-granting and claim-denying statutes. They assert a

       difference between the U.S. "projecting its substantive law abroad" versus

       "bar[ring] a certain category of cases." D.Br. 16. There is no difference relevant to

       the requirement that Congress, not the courts, make decisions about applying



       3
        The Government contends neither that jurisdictional requirements are
       automatically inapplicable when a foreign sovereign sues for injury incurred
       abroad, nor that "jurisdictional statutes should not be read to exclude foreign
       claims."D.Br. 14, 16. The Government simply argues what the Supreme Court has
       held: that jurisdictional statutes are subject to the same two-step inquiry. Br. 28
       n.12.

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       federal statutes when significant foreign-policy concerns would arise. Section

       7903(5)(A) would squarely raise such concerns if it were construed to bar the

       Government 's claim, under Mexican tort law, for injury in Mexico from gun

       misuse in Mexico, for Defendants' systematic importing of guns into Mexico,

       pursued in the only national forum that can grant effective relief. Br. 19-20, 26-32.

             E.       Two Special Circumstances Reinforce the Government's Focus
                      Analysis.

                Abitron reinforced its conclusion by noting that extending the Lanham Act

       to infringing uses abroad would conflict with an established international

       trademark regime. 2023 WL 4239255, at *8-9. To similar effect, the Supreme

       Court has elsewhere explained that, for tort claims, the usual choice-of-law rule

       selects the substantive law of the place of injury    the standard rule throughout the

       world. Br. 8, 31. And the Court held that U.S. courts are open to foreign sovereigns

       to pursue claims for those injuries under their tort law. Id. at 31.

             Consequently, "the 'probability of incompatibility with the applicable laws

       of other countries is so obvious that if Congress intended such foreign application

       it would have addressed the subject of conflicts with foreign laws and

      procedures."' Abitron, 2023 WL 4239255, at *8 (quoting Morrison, 561 U.S. at

       269). So when the injury occurs abroad, " the need to enforce the presumption

       [against extraterritoriality] is at its apex." RJR Nabisco, 579 U.S. at 348.



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             Moreover, while foreign sovereigns' access to U.S. courts is not a

       "categorical right" (D.Br. 17), "the U.S. Congress has never, in peacetime, stripped

       foreign sovereigns of their ability to litigate claims under their laws in U.S. courts"

       (Br. 30).4 The foreign-relations consequences that would ensue from breaching that

       centuries-old reciprocal international custom reinforce the conclusion under the

       two-step inquiry that the political branches should make such a decision.5

       II.   EVEN IF PLCAA OTHERWISE APPLIED, IT WOULD NOT BAR
             THE GOVERNMENT'S CLAIMS.

                A.      If PLCAA Applied, Courts Must Construe Its Key Terms
                        to Be Domestic in Scope.

                Even if PLCAA otherwise applied, courts must construe it using a rule of

       construction akin to the presumption against extraterritoriality   the "assumption"

       that Congress used terms in their strictly domestic scope. See Small v. United

       States, 544 U.S. 385, 389 (2005); Br. 34-38.




       4
         Defendants say Russia could sue them "for how their firearms have been used in
       Ukraine." D.Br. 17. If Russia would somehow have a viable claim under Ukrainian
       tort law, the public-policy exception to choice of law could preclude this and other
       sky-is-falling hypotheticals as offensive to universal principles of justice (see infra
       at Section III(A)) as could justiciability doctrines such as Political Questions and
       Acts of State. See generally Saleh v. Titan, 580 F.3d 1, 7 (D.C. Cir. 2009) ("tort
       duties of reasonable care do not apply on the battlefield").
       5
        The Government does not seek "privileged access to U.S. courts." D.Br. 9 . It
       seeks the access that Congress has not deprived it of.


                                                  8
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             Small used the assumption because applying the statute would have resulted

       in "impos[ing] domestic legal consequences" for "activity abroad" (D.Br. 20)       the

       same dynamic here. Defendants nevertheless assert it "makes no sense" that

       Congress would have withheld PLCAA's protections when the gun misuse and

       injury occur abroad. D.Br. 21. Even if that argument had anything to do with

       PLCAA's text, r especting the right of Mexico to pursue these claims makes the

       same sense as construing federal statutes to withhold U.S. claims from victims

       injured abroad while permitting them to sue under foreign law in U.S. courts.

             Defendants also fail to counter the Government's comprehensive showing

       that PLCAA explicitly extends its protections to "importers" and "importing," but

       not exporters or exporting. Br. 36 & n.17. They assert that the term "dealer" in

       Section 7903(6)(B) can include exporters (D.Br. 21), but provide no support. That

       Section's reference to "dealer" is immediately preceded by "importers" (Section

       7903(6)(A)), who, under Defendants' broad interpretation, would also be included

       in "dealers ." So Section 7903(6)(B) highlights, rather than refutes, Congress's

       decision to not include exporters.6 PLCAA similarly refers to protections for


       6
          Defendants' amicus asserts that PLCAA defines manufacturers and sellers in part
       by reference to 18 U.S.C. §922(a)(1). Amicus Br. of Nat'l Sporting Sports Fnd.
       (" NSSF") at 10. Contrary to NSSF's analysis, that provision does not apply to
       exporters for the very reason that PLCAA also does not: " although the terms
       ' importer ' and ' importing ' are specifically mentioned in the statute, the terms
         exporter and exporting are conspicuously absent." United States v. Mowad, 641

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       importing but not exporting.7 The extensive federal framework for arms exports 8

       makes the absence of exporters/exporting in PLCAA especially conspicuous.

                Defendants invoke PLCAA's boilerplate references to "foreign commerce."

       D.Br. 21. The Supreme Court has "repeatedly held that even statutes that . . .

       expressly refer to foreign commerce' . . . are not extraterritorial." Abitron, 2023

       WL 4239255, at *5. This rule "dooms [Defendants'] argument." Id.; see also Add.

       22; Br. 19-20.

                Reading PLCAA to extend to injury from gun use abroad would implausibly

       require courts to interpret foreign criminal law. Br. 36-37. Defendants say that

      there is "no question" that the misus e here is criminal under Mexican law. D.Br.

       22. But requiring courts to construe foreign criminal law is not made more

       plausible if construing it in a particular case is easy. See Small, 544 U.S. at 390




       F.2d 1067, 1071 (2d Cir. 1981) (reversing conviction for unlawful exporting under
       § 922(a)(1) because it does not apply to exporters/exporting); see also United
       States v. Murphy, 852 F.2d 1, 6-7 (1st Cir. 1988) (upholding conviction under §
       922(a)(1) for domestically purchasing weapons, but under different statute for
       conspiring to export them).
       7
         PLCAA refers to the Arms Export Control Act (D.Br. 21), but it regulates arms
       manufacture and import as well as export, so the reference proves nothing. See,
       e.g., 28 U.S.C. § 2778(a)(1); id. § 2778(b)(1)(A)(i); id. § 2778(b)(2).
       8
        See, e.g., id.; International Traffic in Arms Regulations, 22 C.F.R. §§ 121 et seq.;
       Executive Order 13637 and statutes and regulations cited therein.

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       (" [t]o somehow weed out inappropriate foreign convictions that meet the statutory

       definition is not consistent with the statute s language" ).9

                Construing PLCAA to reach injury from gun misuse abroad would also

       result in its anomalously providing exceptions when manufacturers violate certain

       "federal or state" statutes but not corresponding foreign statutes. Br. 37.

       Defendants say this is "a feature not a bug" because foreign statutes " lack any

       domestic legitimacy" and are "possibly hostile foreign laws." D.Br. 22. Small

       prohibits that jingoism. 544 U.S. at 391-92. Moreover, PLCAA's predicate

       exception refers to state laws "comparable or identical" to federal law and could

       easily have guarded against "possibly hostile" foreign law by attaching a similar

       condition on foreign law. And surely it is not a "feature rather than a bug" that

       Defendants' reading would provide an exception for certain claims by U.S.

       children but not foreign children. Br. 37.

             Nor do Defendants offer an explanation for the absence of any reference in

       the legislative history to exporting, foreign nations, foreign injuries, or even to

       Canada or Mexico or any of their nationals. See Br. 36-38. In the end, their


       9
         PLCAA similarly refers to precluding claims by domestic governments but not
       foreign governments. Br. 38. Defendants cite Turkiye Halk Bankasi A.S. v. United
       States, 143 S. Ct. 940 (2023), but the statute there, unlike PLCAA, did not refer to
       refer generally to governmental entities without including foreign ones, and
       extraterritoriality (and the presumption against it) was not at issue.


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       argument is about what they think PLCAA should have said, not what it actually

       says.

               B.       If PLCAA Applied, the Government's Action Is Allowed Under
                       the "Predicate" Exception.
                       1.   The Defendants' Reading Is Inconsistent With PLCAA's
                            Text.

               The district court held that Defendants are not liable for harm they cause by

       violating a U.S. gun statute unless it provides a private right of action. Add. 27.

       PLCAA 's predicate exception does not say it allows only statutory actions. It

       allows "an action in which a manufacturer or seller of a qualified product

       knowingly violated a State or Federal statute applicable to the sale or marketing of

       the product, and the violation was a proximate cause of the harm for which relief is

       sought " Section 7903(5)(A)(iii).

               The district court offered no reasons for its conclusion. Defendants fail to fill

       that void.

               First, Defendants fail to grapple with the fact that over 30 courts have

       addressed PLCAA, and only the court below held that the predicate exception is

       limited to violations of privately enforceable gun laws.10 Defendants dismiss this

       mountain of authority as "trial courts" (D.Br. 29), but numerous appellate courts



       10
         In addition to the cases cited at Br. 47 n.23, 49, see, e.g., Minnesota v. Fleet
       Farm LLC, 2023 WL 4203088 (D. Minn. June 27, 2023).

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       have allowed negligence and other non-statutory claims under the predicate

       exception. See, e.g., Smith & Wesson Corp. v. City of Gary, 875 N.E.2d 422 (Ind.

       App. 2007); City of Gary v. Smith & Wesson, 216 N.E.3d 813 (Ind. App. 2019);

       Williams v. Beemiller, 952 N.Y.S. 2d 333 (N.Y.App.Div. 2012); King v. Clocek,

       133 N.Y.S.3d 356 (N.Y.App.Div. 2020). Even the decision Defendants cite

       recognized that "a plaintiff not only must present a cognizable claim, he or she also

       must allege a knowing violation of a 'predicate statute."' Ileto v. Glock, 565 F.3d

       1126, 1132 (9th Cir. 2009) (emphasis added).

                Second, Defendants misstate PLCAA when they assert: "The predicate

       exception allows claims 'in which' a U.S. firearms company knowingly violated a

       firearms 'statute."' D.Br. 25 (emphasis added). PLCAA actually allows "an action

       in which" defendant knowingly violated an applicable statute. §7903(5)(A)

       (emphasis added). In contrast, when exempting specific claims PLCAA allows

       "actions for"negligence per se and other claims. § 7903(A)(ii, iv) (emphasis

       added). See Br. 40. Cf., e.g, 17 C.F.R. § 205.7 ("No private right of action").

       Congress chose different words to convey different meanings. See Southwest

       Airlines v. Saxon, 142 S.Ct. 1783, 1789 (2022). The case Defendants cite, Ramos v.

       Wal-Mart Stores, Inc., 202 F. Supp. 3d 457, 465 (E.D. Pa. 2016) (D.Br. 27),

       confirms that the predicate exception's two examples "consist of 'cases,' not




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       individual claims, suggest[ing] that if there are allegations present in a case that a

       defendant violated state or federal law, the case is exempt from the Act."

                Third, Defendants cannot explain why PLCAA' s definition of predicate

       statutes refers to "Federal statute[s]," that do not provide private causes of action

       (§7903(5)A)(iii)), or why it specifically identifies such statutes as examples of

       predicate violations. Id. at I, II; see Br. 48-50. Defendants assert that the examples

       "are not specific statutes." D.Br. 28. But the examples refer to federal statutes,

       such as "any record required to be kept under Federal or State law," and

       "subsection (g) or (n) of section 922 of title 18." Defendants suggest PLCAA

       refers to and gives examples of predicate statutes that are not (in their reading)

       predicate statutes.

             Fourth, the Government does not contend that the exception permits all

       claims to proceed "even if the claims bear no relation to the statutory violation."

       D.Br. 26. The predicate exception's proximate -cause requirement ensures that

       claims unrelated to the harm do not qualify for exemption. Nor does the

       Government contend that a violation by one Defendant removes PLCAA

       protections for all. Id. 26-27. The Government's claims can proceed because each

       claim is closely related to each Defendant's statutory violations.

             Fifth, Defendants cannot coherently explain why, if the predicate exception

       allows only statutory claims, it expressly requires proximate cause (and the claim-


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       based exceptions do not), given that statutory claims inherently require proximate

       cause. See Lexmark Int'!, Inc. v. Static Control Components, Inc ., 572 U.S. 118,

       134 (2014) ("[a] statutory cause of action is [presumed to be ] limited to plaintiffs

       whose injuries are proximately caused by violations of the statute" ). The statutory

       action in Defendants' authority, CSX Transp. Inc. v. McBride, 564 U.S. 685

       (2011), included proximate cause, albeit tailored to the applicable statute.

             Sixth, no court, including the district court, has agreed with Defendants that

       their reading is necessary to avoid making the negligence per se exception

       surplusage. D.Br. 25-27. The predicate and negligence per se exceptions simply

       serve different functions. The predicate exception removes PLCAA' s protections

       for harm caused by knowing violations of applicable law, including by

       manufacturers that are not "sellers." The negligence per se exception provides a

       remedy for any violations by "sellers," with lesser mens rea, in states that allow

       such claims. For example, Brady v. Walmart, 2022 WL 2987078 (D. Md. July 28,

       2022), held that the predicate exception was satisfied, so allowed plaintiffs

       negligence claim, but dismissed plaintiff s negligence per se claim because it did

       not satisfy Maryland law.

             Subjecting gun manufacturers that knowingly violate federal gun laws to

       negligence liability "circumvent[ s] the limit of the negligence per se exception"

       (D.Br. 26) only if PLCAA is intended to shield lawbreakers. It isn't. The


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       Protection of Lawful Commerce in Arms Act was not intended to shield companies

                         . Br. 50-51; see Almendarez-Torres v. United States, 523 U.S.
      that "break the law"

       224, 234 (1998) (title of act may reflect intent). Defendants acknowledge that

       under the "basic deal at the heart of PLCAA" "if a firearms company commits a

       knowing violation of a firearm statute that proximately causes harm to another        or

       commits some other enumerated unlawful act-then the PLCAA's protections may

       recede,"D.Br. 4 (emphasis added), which is almost correct. Under PLCAA,

       precluded actions" shall not include" actions in which there is a predicate

       violation. § 7903(5) (emphasis added).

                      2.    Defendants' Reading Is Inconsistent With the Presumption
                            Against Preemption.

                Defendants also fail to square their argument with the presumption against

       preemption. See Br. 51-52. Defendants' authority, Puerto Rico v. Franklin Cal.

       Tax-Free Tr., 579 U.S. 115 (2016), refused to apply the presumption where

       express preemptive language was clear, but it does not address this situation, where

       the presumption is needed to construe the scope of preemption. See Cipollone v.

       Liggett Grp., Inc., 505 U.S. 504, 523 (1992); Soto v. Bushmaster Firearms Int'l,

       LLC, 202 A.3d 262, 313 (Ct. 2019) (applying federalism and presumption to

       construe PLCAA). See also Amicus Br. of Massachusetts, et. al. at 6-8.




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                      3.     Defendants' Reading Has Absurd Implications.

                Defendants (and the trial court) do not address the absurd implications of

       their reading. Consider if a gun manufacturer expressly conspired with cartels to

       traffic guns to murder police. The manufacturer is convicted as an accomplice to

       murder. A family sues. According to Defendants, PLCAA would immunize the

       manufacturer. A third party pulled the trigger, so the case would meet the general

       definition of"qualified civil liability action;" the Gun Control Act does not provide

       a private right of action, so the predicate exception would not apply; the conviction

       is not covered by §7903(A)(5)(i); and homicide is not an applicable gun law, so no

       other exception would apply. The trafficking murderer would enjoy immunity that

       no one else in society has.

             "[T]o construe statutes so as to avoid results glaringly absurd, has long been

       a judicial function." Griffin v. Oceanic Contractors, 458 U.S. 564, 586 n.16

       (1982).

             C.       The Well-Pled Allegations Establish Knowing Violations of Law.
                      1.    The Allegations Support Defendants' Accomplice Liability
                            for Unlawful Sales and Distribution.

             The Government alleges that Defendants violate federal firearms statutes,

       including those prohibiting unlicensed exports. Br. 40-45. Defendants' arguments

       to the contrary (D.Br. 29-38) contradict plausible allegations that must be accepted

       as true, and defy Supreme Court precedent.

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             Ignoring the Complaint's actual allegations, Defendants assert they cannot

       be liable "just because some downstream criminals use [guns] to commit crimes

       abroad," "[m]erely selling a product that someone later uses in a crime does not

       make the seller an accomplice," and "more is required than mere knowledge,"

       D.Br. 1, 2, 30-33. The Government alleges that Defendants deliberately choose to

       distribute, market, and design their guns in unsafe ways that supply criminals.

       Compl. ¶¶63-69, 244-395. See also In re Nat l Prescription Opiate Litig., 477 F.

       Supp. 3d 613, 633 (N.D. Ohio 2020) (defendants "systematically ignored red flags

      that they were fueling a black market"). The Government's case would resemble a

       suit against Budweiser (D.Br. 30-31) only if Budweiser deliberately sold beer to

       distributors that Budweiser knows systematically supply minors.

             Direct Sales v. United States, 319 U. S. 703 (1943) , refutes Defendants'

       arguments on accomplice liability. Defendants feebly assert that the purchases in

       Direct Sales were for "such a large quantity of narcotics that they could not

       possibly have been used for any lawful purpose." D.Br. 32. The Government

       makes equivalent but stronger allegations about repeated bulk sales of assault

       weapons to obvious traffickers. Compl. ¶¶146-209; 251-57. Defendants fail to

       explain why their conduct is not at least as culpable, since Direct Sales stopped

       some bulk sales at law enforcement's request, while Defendants here defied law

       enforcement entirely. Br. 43.


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              Direct Sales also explains why it is immaterial that Defendants assert that

      they did not violate "any particular law" and sold to "legal" dealers. D. Br. 31.

       Direct Sales sold to a "legal" reseller (a doctor), and did not directly violate any

       law, but its practices supported a criminal conspiracy conviction.

              Defendants even cite United States v. Falcone, 109 F.2d 579 (2d Cir. 1940)

       (D.Br. 31 n.4), which Direct Sales distinguished. 319 U.S. at 709. The Supreme

       Court recently cited Direct Sales approvingly. Twitter, Inc. v. Taamneh, 143 S.Ct.

       1206, 1228 (2023). And similar allegations of accomplice liability have prevented

       dismissal under PLCAA. See Br. 41-42, 47 n.23. The same is true of upstream

       liability in the opioid litigations. Br. 43.

                      2.    Defendants' Machinegun Sales Are Predicate Violations.

                Defendants cannot dispute that ATF has determined that semi-automatic

       guns that can easily be modified to fire automatically are machineguns, or that both

       courts that have considered the issue held that Defendants' sale of readily

       convertible guns constitutes predicate violations. Br. 45.

              Those courts properly rejected Defendants' argument that Staples v. United

       States, 511 U.S. 600 (1994), holds otherwise. Staples "was not considering the

       definition of a machine gun but rather whether 26 U.S.C. § 5861(d) required proof

       that the defendant knew the rifle he possessed had characteristics that made it a

       machine gun." Parsons v. Colt's Mfg. Co ., 2020 WL 1821306, at *5 (D.Nev. Apr.


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       10, 2020); see also Goldstein v. Earnest, No. 37-2020-00016638-CU-PO-CTL

       (Cal. Super. Ct. Jul. 2, 2021); United States v. Olofson, 563 F.3d 652, 657 (7th Cir.

       2009) ("The narrow holding from Staples is that mens rea was an element of the

       crime in question."). Defendants cite United States v. Nieves-Castano, 480 F.3d

       597, 600 (1st Cir. 2007), but there too " [t]he question [was] whether the

       government proved, beyond a reasonable doubt, that she knew this particular AK-

       47 had the characteristics of an automatic weapon." While Defendants complain

       that the ATF' s definition would make criminals out of all AR-15 owners, D.Br. 37,

       Staples mens rea threshold prevents that.

             The rule of lenity (D.Br. 37) likewise is inapplicable, as it only "comes into

       operation at the end of the process of construing what Congress has expressed, not

       at the beginning as an overriding consideration of being lenient to wrongdoers."

       Callanan v. United States, 364 U.S. 587, 596 (1961).

             Defendants invite the Court to determine as a matter of law that the ATF's

       definition is wrong, and that ATF's lack of enforcement establishes that easily

       modifiable assault rifles are not machineguns. D.Br. 35. However, " [a] failure to

       enforce the law does not change it." Louisville & N.R. Co. v. United States, 282

       U.S. 740, 759 (1931).




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       III.   THE COMPLAINT ADEQUATELY PLEADS TORT ELEMENTS.
              A.     Mexico's Tort Law Applies.

              Massachusetts choice-of-law rules provide that "the law of the place where

       the injury occurred presumptively applies." TargetSmart Holdings, LLC v. GHP

       Advisors, LLC, 366 F. Supp. 3d 195, 212 n.2 (D. Mass. 2019); see Ahmed v.

       Boeing Co., 720 F.2d 224, 226 (1st Cir. 1983) ("Massachusetts generally follows

       [the] doctrine of lex loci delicti") (Breyer, J.); Monroe v. Medtronic, Inc., 511 F.

       Supp. 3d 26, 33 (D. Mass. 2021) ("tort claims are governed by the law of the state

       where the injury occurred unless another state has a more significant relationship

      to the underlying cause of action"); see also ECF 152 (JA000037) (Plaintiffs Sur-

       Reply Memo on Choice of Law). Even when the injury and conduct occur in

       different jurisdictions, the law of the place of injury usually applies, and carries

       even greater weight when plaintiff is domiciled there. Br. 32.

              Defendants' cases are inapposite. In Watkins v. Omni Life Sci., Inc., 692 F.

       Supp. 2d 170, 175 (D. Mass. 2010), class action members were injured in 50 states

       while the sole defendant was headquartered in only one. See Burleigh v. Alfa Laval

       Inc., 313 F. Supp. 3d 343, 354 n.14 (D. Mass. 2008) (distinguishing Watkins).

       Saharceski v. Marcure, 366 N.E.2d 1245, 1249 (Mass. 1977), and Pevoski v.

       Pevoski, 358 N.E.2d 416, 417 (Mass. 1976), involved car accidents where the

      place of injury was "fortuitous," see Restatement (Second) of Conflict of Laws §


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       145 cmt. e (1971), and lacked any substantial connection to either party. In Cosme

       v. Whitin Mach. Works, Inc., 632 N.E.2d 832, 836 (Mass. 1994), unlike here, "'the

       domicile and place of business of the plaintiff and the defendant are grouped in a

       single state. "' Id. (quoting Conflict Restatement § 145 cmt. e).

             Kozoway v. Massey-Furguson, Inc., 722 F. Supp. 641, 644 (D. Colo. 1989),

       does not overturn the presumption that the place of injury governs even when the

       injury occurs abroad. See Br. 8; Conflict Restatement § 10, Rpt. 's Note (courts

       generally "have not distinguished between international and interstate conflicts").

       Kozoway declined to apply the law where the injury occurred, based not on any

       preference for U.S. law, but for the law that is most protective of the injured

       plaintiff. 722 F. Supp. at 644. The same pro-plaintiff approach explains Mitchell v.

       Lone Star Ammunition, Inc., 913 F.2d 242, 250 (5th Cir. 1990).11

             Defendants assert that the "United States ... supplies the better rule of law"

       (D.Br. 47), but "the United States is not a state within the meaning of the [choice-

       of-law] rule[s]." Conflict Restatement § 3, cmt c. The choice is between Mexican

       and Massachusetts tort law. Moreover, this factor is not part of the Restatement

      test, and Defendants cite no Massachusetts case applying it. Merely because "two

       laws simply reflect different weighing of values; one is not inherently better than

       11
          Defendants cite no case rejecting a sole plaintiffs request to apply the law of the
       place where it was injured and domiciled. See Symeonides, at 367 (in cases of
       "true conflict" courts overwhelmingly apply pro -plaintiff law of state of injury).

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      the other." Mitchell v. Zurich Payroll Sols., 1999 WL 693730, at *5 (D. Mass.

       Aug. 16, 1999). At most, the factor might influence a close case. See Travenol

       Laboratories, Inc. v. Zotal, Ltd., 474 N.E.2d 1070, 1074 (Mass. 1985). It has no

       place here because the primary Restatement factors (injury and plaint iffs

       domicile) clearly point to applying Mexican law.

             Defendants rely on the public-policy exception to choice-of-law principles,

       but that exception "has narrow application" that "rarely" governs. Conflict

       Restatement § 90, cmt. c (only if suit "would violate some principle of justice,

       some prevalent conception of morals, some deep-seated tradition of the

       commonwealth"). Defendants do not identify any infringed "strong local public

       policy" (id., cmt. a), and Massachussetts clearly does not see one. Amicus Br. of

       Massachusetts et al. at 1-2. Nor is there a conflict with the policies of the United

       States. This lawsuit does not seek "to regulate the American firearms industry,"

       D.Br. 48. Consistent with nearly universal tort-law principles, the Government

       seeks to hold Defendants liable for trafficking guns into its territory, and seeks

       tailored injunctive relief directed at halting trafficking to Mexico. Br. 3-4, 6. And

       whatever rights the Second Amendment confers, it provides none to participate in

       trafficking firearms to Mexico.




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              B.       Defendants' Proximate Cause Arguments Lack Merit.

              The district court found that "the complaint plausibly alleges that Mexico's

       injuries are 'fairly traceable' to defendants' conduct for purposes of Article III

       standing." Add. 18. The Complaint alleges that the " trafficking of firearms into

       Mexico, and the resulting violence, are the direct product of the intentional sales

       practices of defendants," id. at 16, and the "violence in Mexico is a predictable, or

       'foreseeable,' result of defendants' actions." Id. at 17 (citing allegations); see also

       Compl. ¶116 ("Defendants' guns are the overwhelming source of the cartels'

       arsenals.") .

              A subsequent crime is not (contra D.Br. 40) "the textbook intervening act"

       that cuts off liability. See Plaintiff's First Expert Report on Tort Law of Mexico

       ("First Tort Law Report") , 73 (JA000 202); Restatement (Second) of Torts § 448

       (1965); Dan B. Dobbs, The Law of Torts § 190, at 472 (2000). Even Defendants'

       cases recognizes that a criminal act is a superseding cause " only where the original

       wrongdoer reasonably could not have foreseen such act." Copithorne v.

       Framingham Union Hosp., 520 N.E.2d 139, 141 (Mass. 1988); see also Jupin v.

       Kask, 849 N.E.2d 829 (Mass. 2006); Davis v. United States, 670 F. 3d 48, 56 (1st

       Cir. 2012). Defendants' superseding-cause argument "fails in Massachusetts if the

      third person's acts could have been foreseen, which is what Plaintiffs allege." City

       of Boston v. Smith & Wesson Corp., 2000 WL 1473568, at *15 n.65 (Mass. Sup.


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       Ct. July 13, 2000). As these authorities demonstrate, Defendants are simply wrong

       that the only exception is when " a defendant itself directly exposes a plaintiff to

       the risk of immediate criminal danger," D.Br. 40, which the Complaint alleges in

       any event, e.g., Compl. ¶¶ 2-8, 12-16, 21.

             Indeed, Amicus NSSF (at 11-12) notes that PLCAA makes certain volitional

       criminal acts "the sole proximate cause" of harm under the product liability

       exception; this proves that Congress chose not to impose a sole-cause standard in

       actions under the predicate exception.

             Defendants are similarly incorrect that too many "steps" separate their

       conduct and the harm. Neither Mexican nor Massachusetts tort law cuts off

       causation at some number of steps; causation exists if the injuries foreseeably

       resulted from Defendants' misconduct. See First Tort Law Report",, 67-69, 74

       (JA0000203); Doull v. Foster, 163 N.E. 3d 976, 983 (Mass. 2021).12 Foreseeability

       " is a question of fact for the jury to decide based on an assessment of the

       circumstances." Commonwealth v. Carlson, 849 N.E.2d 790, 795 (Mass. 2006).

       Resolving proximate cause on the pleadings is generally inappropriate. See Szulik

       v. State Street Bank and Trust Co., 935 F. Supp. 2d 240, 268 (D. Mass. 2013).




       12
         PLCAA does not create causes of action, so it does not supply a federal rule of
       proximate cause in actions subject to the predicate exception.

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             Defendants cite Jane Doe No. 1 v. Backpage.com, LLC, 817 F.3d 12, 24, 25

       (1st Cir. 2016) , but there the "causal chain is shot through with conjecture: it

       pyramids speculative inference upon speculative inference" and "is forged entirely

       out of surmise" and "conclusory statements." And the chain of causation here does

       not involve eight steps, as Defendants assert; the Government's injuries are a direct

       result of Defendants' trafficking.

             "Most relevant" are not the few out-of-state cases Defendants cite (D.Br. 41-

       42), but on-point Massachusetts authority, and more recent cases, that have found

       similar allegations of proximate cause sufficient. See City of Boston, 2000 WL

       1473568; James v. Arms Technology, Inc., 820 A. 2d 27, 38-39 (N.J. Super. 2003);

       Ileto, 349 F.3d at 1206-09; City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d

       1136, 1147-1149 (Ohio 2002); City of Gary ex rel. King v. Smith & Wesson Corp.,

       801 N.E.2d 1222, 1248 (Ind. 2003). Defendants' authorities did not apply

       Massachusetts or Mexico law, and either assumed manufacturers' conduct was

       legal, e.g., People ex rel. Spitzer v. Sturm, Ruger & Co., 309 A.D.2d 91, 103 (N.Y.

       App. Div. 2003); Camden Cnty. Bd. of Chosen Freeholders v. Beretta U.S.A.

       Corp., 123 F. Supp. 2d 245, 258 n.8 (D. N.J. 2000), and/or followed a federal

       antitrust/RICO causation standard, which "does not fit squarely in a case ...

       involving application of traditional tort concepts," James, 820 A. 2d at 38; see also




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       City of Chicago v. Purdue Pharma L.P., 2021 WL 1208971, at *13 (N.D. Ill. Mar.

       31, 2021) (RICO/FHA standards not applicable to Illinois tort claim).

             The Government's injuries are not solely "derivative" of the harm to its

       citizens. "Plaintiffs' harm is in essence the type of harm typically suffered by

       [governments] due to public nuisances. Indeed, much of the harm alleged is of a

       type that can only be suffered by [government] plaintiffs." City of Boston, 2000

       WL 1473568, at *6. Other courts have similarly found that the cost of

       governmental services in responding to gun crime is not derivative. See City of

       Cincinnati, 768 N.E. 2d at 1147-49; James, 820 A.2d at 41; see also City of

       Boston, 2020 WL 977056, at *4 (opioids).13 Moreover, many of the Government's

       increased costs to fight gun violence     for example, increased expenses for law

       enforcement and security    are necessary to protect its citizens from additional

       future harms. And harm to Government personnel and property is plainly not

       "derivative."

             Any potential difficulty of apportioning damages is not ground for dismissal.

       See First Tort Law Report ¶¶ 75-79 (JA0000203); City of Boston, 2000 WL

       1473568, at *7 n.33 ("[t]he difficulty in ascertaining damages in this case is best

       assessed when the case has gone beyon d the pleading stage"); Doull, 163 N.E. 3d



       13
          Mexican tort law does not recognize any such restriction on the Government's
       right to recover. See First Tort Law Report ¶74 (JA0000203).

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       at 983. The Government seeks recovery for independent harms for which only it

       can recover. And the requested injunctive relief is not subject to apportionment. Cf.

       Lexmark, 572 U.S. at 135 ("[e]ven when a plaintiff cannot quantify its losses with

       sufficient certainty to recover damages, it may still be entitled to injunctive

       relief').

              C.      Defendants' Duty Does Not Stop at the Border.

                The Government does not seek to impose a duty to control third parties or to

       "protect" Mexico. D. Br. 44. Defendants' wrongful acts are ones of commission,

       not omission. Defendants have "a duty to refrain from affirmative acts that

       unreasonably expose others to a risk of harm." Yakubowicz v. Paramount Pictures

       Corp., 536 N.E.2d 1067, 1070 (Mass. 1989); see also First Tort Law Report ¶¶ 25,

       34-36, 67-69 (same) (JA0000203). City of Boston rejected similar arguments,

       noting that " Plaintiffs do not allege that Defendants were negligent for failure to

       protect from harm but that Defendants engaged in conduct the foreseeable result of

       which was to cause harm to Plaintiffs." 2000 WL 1473568, at *15; see also City of

       Cincinatti, 768 N.E.2d at 1144; City of Gary, 801 N.E.2d at 1242.

              Nor does Defendants' duty stop at the border. They cite three tobacco cases

       in which countries sued in their capacity as " insurer or third party provider of

       medical care" to smokers, and the courts merely held that allowing plaintiffs to

       proceed directly rather than by subrogration would " strip the defendants of


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       defenses which would otherwise be available to them " State of São Paulo of

       Federative Republic of Brazil v. Am. Tobacco Co., 919 A.2d 1116, 1123 (Del.

       2007). Those cases are not remotely applicable here.

                                            CONCLUSION

                The Court should reverse and remand.


                Dated: July 13, 2023                   Respectfully submitted,

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             This brief complies with the type-volume limitation of Fed. R. App. P.

       32(a)(7)(B) because the brief contains 6,486 words, excluding the parts of the brief

       exempted by Fed. R. App. P. 32(f).

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                                              /s/ Steve D. Shadowen
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